                        UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DMSION

                             NO. 5:18-CR-00452-FL(3)

UNITED STATES OF AMERICA
                                        DEFENDANT'S STATEMENT IN
                                        SUPPORT
            V.                          OF JUDICIAL ORDER OF REMOVAL

LEONID ISAAKOVICH TEYF


       Leonid Isaakovich Teyf, defendant m the above-captioned criminal

proceeding, hereby states as follows:

       1. My true and correct name is Leonid Isaakovich Teyf.

       2. I received from the United States a Notice of Intent to Request Judicial

Order of Removal ("Notice"). I am the person identified in that document and I

waive my right, pursuant to Section 238(c)(2)(A) of the Immigration and

Nationality Act of 1952, as amended ("INA") , 8 U.S.C. § 1228(c)(2)(A), to have the

Notice served upon me prior to the commencement of the trial or entry of a guilty

plea in this case.

       3. I received from the United States the Application for, and Factual

Allegations in Support of, Judicial Order of Removal. I waive my right, pursuant

to Section 238(c)(2)(B) of the INA, 8 U .S.C. § 1228(c)(2)(B), to have the Factual

Allegations in Support of Judicial Order of Removal ("Allegations") served 30 days

prior to sentencing.

       4. My rights in a judicial removal proceeding have been fully explained to

me by my attorneys Robert S. Wolf and F . Hill Allen. After consultation with

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    counsel and understanding the legal consequences of doing so, I knowingly and

    voluntarily waive the right to the notice and hearing provided for in Section

    238(c)(2) of the INA, 8 U.S.C. § 1228(c)(2), and further waive any and all rights to

    appeal, reopen, reconsider, or otherwise challenge any order of removal. I

    understand the rights I would possess in a contested administrative proceeding

    and I waive these rights , including my right to examine the evidence against me,

    present evidence on my own behalf, and cross-examine witnesses presented by

    the United States. I understand these rights and waive further explanation by

    the Court.

            5. I admit that all of the factual allegations set forth in the Allegations are

    true and correct as written.

            6. I concede that I am removable from the United States pursuant to: (1)

    Section 237(a)(l)(A) of the Immigration and Nationality Act of 1952 ("INA"), as

    amended, 8 U .S.C. § 1227 (a)(l)(A), as an alien who, at the time of entry or

    adjustment of status, was within one or more classes of aliens inadmissible by the

    law existing at such time, to wit: Section 212(a)(6)(C)(i) of the INA, as amended, 8

    U.S .C. § 1182(a)(6)(C)(i) as an alien who, by fraud or willfully misrepresenting a

    material fact, seeks to procure (or has procured) a visa, other documentation, or

    admission into the United States or other benefit provided under this Act.               I

    further concede that upon my negotiated plea of guilty, I am removable pursuant

    to:   (2)     Section   237(a)(2)(A)(iii)   of the   INA,   as   amended,   8   U.S.C.   §

    1227(a)(2)(A)(iii), as an alien who is not a native or citizen of the United States,

    who is a native and citizen of Russia, and who was convicted of an aggravated
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    felony at any time after admission, to wit: Section 101(a)(43)(P) of the INA, as

    amended, 8 U .S.C. § 1101(a)(43)(P) and (3) Section 237(a)(3)(B)(iii) of the INA, as

    amended, 8 U.S.C . § 1227(a)(3)(B)(iii), a s an alien who at any time has been

    convicted of a violation of, or an attempt or conspiracy to violate, 18 U.S.C. §

    1546(a), and (4) Section 237(a)(2)(A)(ii) , as amended, 8 U.S.C. § 1227(a)(2)(A)(ii),

    as an alien who at any time after admission is convicted of two or more crimes

    involving moral turpitude , not arising out of a single scheme of criminal

    misconduct.

          7. I waive any and all rights I may have to any and all forms of relief or

    protection from removal, deportation, or exclusion under the INA, and related

    federal regulations. These rights include , but are not limited to, the ability to

    apply for the following forms of relief or protection from removal: a sylum;

    withholding of removal under Section 241(b)(3) of the INA, 8 U.S.C. § 1231(b)(3);

    any protection from removal pursuant to Article 3 of the United Nations

    Convention Against Torture, including withholding or deferral of removal under 8

    C.F.R. §§ 208.16-17 and 1208.16-17; cancellation of removal; adjustment of status;

    registry; de novo review of a denial or revocation of temporary protected status

    (current or future) ; waivers under Sections 212(h) and 212(i) of the INA, 8 U.S.C.

    § 1182(h) and (i) ; visa petitions; consular processing; voluntary departure or any

    other possible relief or protection from removal available under the Constitution,

    laws or treaty obligations of the United States.

          8. I agree to the entry of a stipulated judicial order of removal pursuant to

    Section 238(c)(5) of the INA, 8 U.S.C. § 1228(c)(5). I acknowledge that I have not
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     been persecuted in, and have no present fear of persecution in Belarus, Israel, or

     Russia the countries of my nativity and citizenship. I further acknowledge that I

     have not been tortured in, and have no prese nt fear of torture in Belarus, Israel,

     or Russia the country of my nativity and citizenship.

           9. I consent to the introduction of this statement as an exhibit to be filed in

     connection with these judicial removal proceedings. I further agree to make the

     judicial order of removal a public document, waiving my privacy rights, including

     any privacy rights that might exist under 8 C.F.R. § 208.6.

            10. I agree to assist U.S. Immigration and Customs Enforcement ("ICE") in

     the execution of my removal. Specifically, I agree to assist ICE in the

     procurement of any travel, identity, or any other documents necessary for my

     removal; to meet with and to cooperate with representatives of any country to

     which I may by statute be removed if ICE so requests; and to execute any form s,

     applications, or waivers needed to execute or expedite my removal. I further

     understand that my failure or refusal to assist ICE in the execution of my

     removal may subject me to criminal penalties under Section 243 of the INA, 8

     U .S.C. § 1253.

            11. I concede that the entry of a judicial order of removal renders me

     permanently inadmissible to the United States. I agree that I will not enter,

     attempt to enter, or transit through the United States without first seeking and

     obtaining permission to do so from the Secretary of the Department of Homeland

     Security or other designated representative of the U.S. government.

            12. I will accept a written order issued by this Court for my removal from
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the United States to: in the first instance, Belarus,or upon refusal of Belarus to

accept me, in the alternative Israel, or upon refusal of Israel to accept me, in the

alternative Russia, and I waive any and all rights to challenge any provision of

this statement in any U.S. or foreign court or tribunal.

This statement has been translated and/or read to me in Russian, the language I
understand best, and I have carefully discussed every part of it with my attorney(s).
I understand every term of this statement, and I voluntarily agree to those terms.




Defendant

We , Robert S. Wolf, and F. Hill Allen, are Leonid Isaakovich Teyfs attorneys. We
have carefully discussed this statement with our client. To the best of our
knowledge , our client's decision to make this statement is an informed and
voluntary one.




                                                    Date




F. HILL ALLEN
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                                                    Date
Attorney for Defendant




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